Case 1:19-cv-22175-KMW Document 10 Entered on FLSD Docket 07/09/2019 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   REVERSE MORTGAGE SOLUTIONS, INC.

           Appellant,
   v.                                                 CASE NO.: 1:19-cv-22175-KMW

   ALEIDA C. NUNEZ,

          Appellee.
   _________________________________/

                 REVERSE MORTGAGE SOLUTIONS, INC.’S UNOPPOSED
                      MOTION TO STAY BRIEFING ON APPEAL

         Pursuant to Fed. R. Bankr. P. 8013, 8018, and 9006, and Local Rules 87.4(f) and Local

  Rule 7.1(a)(1)(j), Appellant Reverse Mortgage Solutions, Inc. (“RMS”), requests an unopposed

  stay of briefing on appeal, as follows:

         1.      The above-captioned bankruptcy appeal was docketed with the Court on May 29,

  2019 [Dkt. No. 1].

         2.      This appeal arises from the same chapter 13 bankruptcy as the pending appeal in

  Case No. 1:18-cv-22204-KMW (the “Prior Appeal”). Both this appeal and the Prior Appeal

  involve disputes over the treatment of RMS’s reverse mortgage loan in Appellee Aleida C.

  Nunez’s chapter 13 bankruptcy.

         3.      On March 12, 2019, the Bankruptcy Court confirmed Appellee’s chapter 13 plan,

  which provided that Appellee could maintain possession of the property at issue without paying

  RMS in full over the term of the plan. This ruling was premised upon a finding that Appellee is

  a “Borrower” under the reverse mortgage.


                                                1
Case 1:19-cv-22175-KMW Document 10 Entered on FLSD Docket 07/09/2019 Page 2 of 4



         4.      On March 21, 2019, the Court entered its opinion and order in the Prior Appeal,

  and held that Appellee was not a “Borrower” under RMS’s reverse mortgage loan, and remanded

  for further proceedings. See Reverse Mortg. Sols., Inc. v. Nunez, 598 B.R. 876 (S.D. Fla. 2019).

         5.      RMS filed a timely motion for relief from the confirmation order, arguing that this

  Court’s ruling in the Prior Appeal was controlling and that the Bankruptcy Court should not have

  confirmed the chapter 13 plan. Notwithstanding the ruling in the Prior Appeal, the Bankruptcy

  Court denied RMS’s motion for relief.

         6.      RMS appealed the chapter 13 plan confirmation order and the Bankruptcy Court’s

  denial of RMS’s motion for relief from the confirmation order, which are the matters before the

  Court in this appeal.

         7.      On May 3, 2019, Appellee filed a motion for rehearing in the Prior Appeal (the

  “Motion for Rehearing”). In particular, Appellee requested that the Court adopt the holding from

  the Third District Court of Appeal in OneWest Bank, FSB v. Palmero, No. 3D14-3114, 2019 WL

  1783727 (Fla. Dist. Ct. App. Apr. 24, 2019), affirm the Bankruptcy Court’s finding that Aleida

  Nunez is a “Borrower” under the terms of the reverse mortgage, and affirm the confirmed

  chapter 13 plan.

         8.      The parties have completed all briefing on the Motion for Rehearing. As of the

  filing of this Motion, the Court has not ruled on the Motion for Rehearing.

         9.      The Court’s resolution of the Motion for Rehearing may resolve all or some

  issues raised in this appeal, or result in a further appeal to the Eleventh Circuit on the issues

  pending in this appeal. Requiring the parties to prepare and file their merits briefs before the

  Motion for Rehearing is decided would be inefficient, premature, and result in an unnecessary


                                                  2
Case 1:19-cv-22175-KMW Document 10 Entered on FLSD Docket 07/09/2019 Page 3 of 4



  expenditure of the limited resources of this Court and of the parties. Accordingly, RMS requests

  that the Court stay the parties’ deadlines for briefing pending further order of the Court.

         10.     Counsel for RMS conferred with Appellee’s counsel who advised they have no

  objection to the requested relief.

         WHEREFORE, PREMISES CONSIDERED, RMS respectfully requests that the parties’

  deadlines for filing merits briefs in this appeal be stayed until further order of the Court

  following its ruling on the pending Motion for Rehearing.



 Date: July 9, 2019.

                                        Respectfully submitted,



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                                                   3
Case 1:19-cv-22175-KMW Document 10 Entered on FLSD Docket 07/09/2019 Page 4 of 4




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
  CM/ECF electronic noticing or U.S. Mail on July 9, 2019, to Gianny Blanco, 10647 N. Kendall
  Drive, Miami, FL 33176, courtdoc@fgbkc.com; Edward Freire, 10647 N. Kendall Drive, Miami,
  FL 33176; Jacqueline Cisneros Ledon, 4343 W. Flagler Street, Suite 100, Miami, FL 33134,
  jledon@lsgmi.org; Aleida C. Nunez, 9940 SW 155th Avenue, Miami, FL 33196; Nancy K.
  Neidich, Trustee, P.O. Box 279806, Miramar, FL 33027, nancy@ch13miami.com; April
  Harriott, Robertson, Anschutz & Schneid, P.L., 6409 Congress Avenue, Suite 100, Boca Raton,
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  1204, Miami, FL 33130.


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                                              4
